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            IN THE LINITED STATES DISTRICT COURT FOR THE
                    NORTHERN DISTzuCT OF FLORIDA
                        TALLAHASSEE DIVISION


UNITED STATES OF AMERICA

V                                                   4:18CR76-RH

JOHN THOMAS BURNETTE


                SBALED SENTENCING MEMORANDUM OF
                 DBFENDANT JOHN THOMAS BURNETTE

      Defendant John Thomas Burnette ("Burnette") respectfully submits this

sentencing memorandum      in supporl of his request for a sentence below the
applicable United States Sentencing Guidelines ("Guidelines") range that does not

include an unnecessarily lengthy term of imprisonment.


                                INTRODUCTION

      Burnette, a first-time non-violent offender, has been          a   leader and

philanthropist in the Tallahassee community for over a decade. As described in the

letters attached, Burnette has selflessly devoted his time, money, and even his home

to people in need in the Tallahassee community, and welcomed underprivileged

children into his home. He has also contributed countless hours to mentor local

students, entrepreneurs, and has provided generous charitable assistance to various

organizations and rnedical care    facilities. While Burnette regrets the taped
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statements played in court and the impact the trial has had on the community and the

people he loves, this Court should respectfully examine the whole person including

Burnette's positive actions, charitable works, and good character.

        Title 18 U.S.C. $ 3553(a) provides that "[t]he court shall impose a sentence

sufficient, but not greater than necessary." Although the Court's sentencing analysis

must begin "by correctly calculating" the applicable Guidelines range, Peugh v

United States,569 U.S. 530, 536 (2013) (quoting Gall v. United States,552 U.S. 38,

49 (2007)), this is only one element in determining the appropriate sentence. "[T]he

application of the guidelines is not complete until the departures,     if   any, that are

warranted are appropriately considered." United States v. Jordi,418 F.3d 1212,

1215   (l1th Cir. 2005). As discussed herein, it is submitted that the Guidelines range

has been improperly increased by including relevant conduct not established by a

preponderance of the evidence. To the contrary, Burnette should be eligible for a

downward variance pursuant to 18 U.S.C. $ 3553(a) because of; among other things,

all the positive contributions he has made to others throughout his lifetime.

                              RELEVANT CONDUCT

       In the Eleventh Circuit, "[r]elevant conduct of which a defendant was
acquitted nonetheless may be taken into acconnt in sentencing for the offense          of

conviction, as long   as the government proves the   acquitted conduct relied upon by a

preponderance of the evidence." United States v. Duncan, 400 F.3d 1297, 1304



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(1lth Cir. 2005) (citing United States v. Barakat, 130 F.3d 1448, 1452 (1lth Cir

1997); United States v. Watts,519 U.S. 148, 153, 117 S.Ct. 633,636,136L.8d.2d

554 (1997); United States v. Frazier, 89 F.3d 1501, 1506       (1lth Cir. 1996); United

States v.   Averi,922F.2d 765,766 (1lth Cir. 1991)).r The Guidelines calculations

here have included as relevant conduct the MHG allegations regarding the

McKibbon Hotel Group ("MHG"). However, Burnette was acquitted of the

allegations because the Government not only failed to prove the allegations beyond

a reasonable   doubt, but also failed to establish the charges by   a   preponderance of the

evidence. Accordingly, for reasons set forth below, Burnette objects to including

MHG in the loss calculation or for the multiple bribe enhancement under the

Guidelines.

I.     The September 25,2013 Text Message

       The most compelling evidence that the MHG allegations are false and

unsubstantiated is Scott Maddox's ("Maddox") September 25,2013 text message

searching for a motive for Burnette's lawsuit months after the alleged bribe occurred

in May or June of that same year. Ex. A                    REDACTED
                       Maddox writes the following to Paige Carter-Smith ("Carter-

Smith") and Yordon: "Found the answer. On Taldem lTallahassee Democrat].Hotel


I While foreclosed by precedent, Burnette asserts that sentencing
                                                                  based on acquitted
conduct violates his Fifth and Sixth Amendment rights and reserves the right to
challenge that precedent in the appropriate forum.

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Duval selling to Kentucky company. That's why the opposition. Paige- pull up and

call Wes right away. Paige-confirm?" Id. Clearly Maddox did not know why

Burnette was opposing MHG's project and believed the motive was the sale ofHotel

Duval, not the purchase of the DoubleTree. Notably, this text message was sent

only one week after InvestCorp informed Burnette that it was willing to sell the

DoubleTree, but after the sale of Hotel Duval went public.

II                                  REDACTED




r
2
                     REDACTED                                ,Maddox was "shocked"
and "upset" that Burnette was "s tng           oo     an was "full of shit." Comp.
Ex. B at 1962:5-15, 1962:1 8- 1963 :2, 1964:2-1965:1 . Carter-Smith and Maddox also
believed that Governance was retained for legitimate lobbying in Leon County, as
opposed to the City, for Fallschase. Comp. Ex. C at 1105:8-10; Comp. Ex. B at
1 986: 1 -1987 :12, 1996:1 1-6.




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                          REDACTED




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                          REDACTED




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                            REDACTED




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                         REDACTED




                                8
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                                 REDACTED




      Conveniently, as discussed in the Government's Sentencing Memorandum for

the Co-Defendants, it was only after Burnette's testimony that Maddox informed the

Government that he recalled Burnette "frequently constantly calling him to check up

on whether Maddox would still recuse and discussing the position of            other

commissionerSonthe[MHG]vote.,,ECFNo.4]7at25.@


                                                         Carter-Smith also testifi ed



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how the Government refreshed her recollection with a timeline board during her

interviews to nail down the MHG story

               Q. Do you recall telling the FBI that the comment by Mr.
               Maddox in setting out a chronology, that this comment
               was between May the 30th of 2013 and June the 7th of
               20t3?
               A. So, I recall that we got a big timeline on the board and
               I was trying to put pieces together. So if I said that, that
               was my recollection at the time with looking at the big
               timeline, yes.

Comp. Ex. C at 1048:8-14.                         REDACTED


                                  As for the actual payment of the $100,000, the only

thing that changed between the January I0, 2014 invoice for $10,000 and the

February 26, 2014 invoice for $100,000 was that the Co-Defendants learned on

February 4, 2014, that Burnette was going to purchase the DoubleTree          -   months

after Maddox alleged he was bribed by Burnette. Ex.      L at2.

III      Burnette Did Not Have a Willing Seller for the DoubleTree Prior to
         Maddox's September 1L,2013 Public Recusal

         In addition to Maddox's    September 25, 2013 text message and the Co-

Defendants' inconsistencies, the MHG allegations are also counterintuitive because

Burnette did not have a willing seller of the DoubleTree prior to Maddox's recusal

If   Burnette was unwilling to file a lawsuit until after he had a verbal commitment

from InvestCorp to sell the DoubleTree, it is hardly believable that Burnette would



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have already agreed to pay a $100,000 bribe to Maddox. The evidence demonstrates

that when Burnette initially approached InvestCorp on July 22,2013 to sell the

DoubleTree, he was rejected. Ex.      M.   Despite continued negotiations, Burnette was

not informed that InvestCorp was willing to sell the DoubleTree until September 18,

2013   -   a week after Maddox's recusal. See Exs.          N, O, P, Q, R. Putting     aside

Burnette's evidence,3 the record overwhelmingly establishes the weaknesses in the

Government's MHG allegations, which fail to prove the Government's position by

a preponderance     of the evidence

IV     Even if Maddox Could Have Un-recused, the Political Pressure from
       Erwin Jackson'Would Have Prevented Him from Doing So

       Given the political pressure from Erwin Jackson,             it is also illogical that
Burnette would have believed that Maddox would have un-recused himself after his

September     ll,   2013 recusal              REDACTED                        and Yordon's

testimony established that it was Erwin Jackson's ("Jackson") public and political

pressure that led to Maddox's recusal. Even       if   one disagrees that Jackson, and not a

bribe, led to Maddox's recusal,       it is implausible     that Maddox would un-recuse

himself thereafter

       In the week preceding Maddox's recusal,               Jackson publicly condemned

Maddox for his MHG conflict of interest. On September 5, 2013, Tallahassee


3
  See Comp.Ex. S. at2l7l:19-2t72:15,2167:15-2168:16, 2229:18-2230:8; Ex. T at
a
J.


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Reports noted that Yordon conducted business for MHG before the City of

Tallahassee without registering as a lobbyist. Ex. U at 1. After Tallahassee Reports

requested a list of registered lobbyists, Yordon registered under The Zachary Group.

Id. at2. According to the article, "Tallahassee Reports has learned that due to the

relationship that Governance reportedly has with City Commissioner Scott Maddox,

Mr. Yordon could not register as lobbyist under the Governance name." Id. at3

           On September 9, 2013, Jackson sent Maddox and other City Commissioners

an email with the subject "Scott Maddox Doesn't Know Where He Lives or the

Business Interests He Represents." Ex.     V.    This article stated that"fa]vote for 12.0I

is   a   vote to reward Scott Maddox handsomely for representing Mckibbon [sic] Hotel

Group. It doesn't matter if Scott represents MHG personally, through his law firm,

his lobbying firm Governance, or his business partner, Gary Yordon...It [sic]            is

wrong!" Id. at L The following day, on September 10, 2013,               Jackson sent two

emails addressing Maddox's conflict with MHG to the Commission and the

Tallahassee Democrat. Exs. W,         X.   Although Maddox was not included on the

emails, Commissioner Gil Ziffer forwarded them to Maddox. Immediately before

his public recusal on September 11, 2013, Jackson publicly addressed Maddox's

conflict in front of the Commission. Ex.    Y. Given    the tremendous political pressure

to recuse, Maddox did just that.




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                                     REDACTED
                                          see also Comp. Ex. B at 1927:5-6 ("there

would be an ethics complaint made as a result")             REDACTED


             Yordon also stated that he was retained to represent MHG so that

Maddox would avoid the wrath of Jackson. Id. at 531:21-532:2. Notably, Yordon

raised the MHG conflict with Maddox numerous times:

             If we were going to do The Zachary Group      Scott needed
             to step out front immediately and clearly recuse himself
             and do everything he needed to do to do that. So when it
             wasn't happening, it was a bit of a frustration, especially
             when he would get up and leave the room, because he
             wasn't fooling anyone and it was making it more and more
             ammunition for Erwin Jackson, and it just - it just making
             it worse.

Id, at 531:12-20. Based on Maddox and Yordon's testimony, and considering the

tremendous pressure Jackson placed on Maddox,       it is inconceivable   that Maddox

would have un-recused from MHG following his public recusal on September 11,

2013.4 Based on the foregoing, the alleged $100,000 MHG bribe should not be




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  Notably, it has been argued that Burnette did not think Maddox's abstention was
"set in stone" based on Burnette's text to Charlie Simon ("Simon") stating, "I assure
you Hampton can be back alive in 2 phone calls" as evidence to support this
contention. See Ex. AA at3031:13-18. However, the Burnette-Simon text message
was sent on February 27, 2014 - more than two (2) weeks after the final vote.
Clearly the statement was simply another Burnette negotiation tactic.

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included in the loss calculation and there should be no multiple bribe enhancement

under the Guidelines

      The Government's and the PSR's position that the four (4) checks paid from

SPD to Governance constitute "more than one bribe" is misguided. PSR              1T   173.

Application Note 2 to $2C1.1 states, "Related payments that, in essence, constitute

a single payment of bribery or extortion (e.9., a number of installment payments        for

a single action) are to be treated as a single bribe or extortion, even   if charged in

separate co'unts" (emphasis added). Taking the Government's position that these

payments constitute bribery, the four (4) payments were monthly installment

payments constituting one (1) bribe under the Guidelines.      It is counterintuitive for

the Government to posit a retainer theory of bribery yet argue the four (4) payments

were four (4) separate bribes. The PSR asserts that the enhancement applies because

Burnette was convicted of two (2) counts of honest services fraud. PSR fl 173. The

Application Note discussed above clearly rejects that reasoning. The two (2) counts

merely reflect two uses of the mails-not two (2) separate alleged bribes. The PSR

cites Eleventh Circuit cases that     it   claims "applied this enhancement   in similar

applications" that   it   incorrectly submits are "controlling." To the contrary, the

Eleventh Circuit did not even consider whether the enhancement was correctly

applied since the issue was not presented. The cases are not even relevant, let alone

controlling. This Court should reject this argument.



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                                SECTION 3553(a) FACTORS

        Section 3553(a) instructs, in pertinent paft, that in addition to the advisory

Guidelines range, "[t]he court, in determining the particular sentence to be imposed,

shall consider" the following factors among others

        (1)      the nature and circumstances of the offense and the history and
                 characteristics of the defendant;

        (2)      the need for the sentence    imposed-
                 (A)      to reflect the seriousness of the offense, to promote respect
                          for the law, and to provide just punishment for the offense;

                 (B)      to afford adequate deterrence to criminal conduct;

                 (C)      to protect the public from further crimes of the defendant;
                 and




        (6) the need to avoid unwarranted          sentence disparities among
                 defendants with similar records who have been found guilty of
                 similar conduct.

18 U.S.C. $ 3ss3(a)

        The Guidelines are only one of the factors to be considered by the District

Court that must, after considering all the sentencing factors, "tailor the sentence in

light of other statutory concerns." (Jnited States v. Ellis,419 F.3d 1189, 1193 (1lth

Cir. 2005). Burnette respectfully asks this Court to consider the Section 3553 factors

as   well   as the case   law discussed below when evaluating the appropriate sentence




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I.     The History and Characteristics of the Defendant

        Burnette's personal history and character are exceptional and warrant        a


downward variance from the Guidelines. He was raised in Monticello, Florida, and

had an unstable and underprivileged childhood. Through most of his younger years,

Burnette was raised by his mother and his stepfather, Randy Elkins, both of whom

were heavily addicted to crack cocaine. Burnette was raised            in a neglectful
household where he witnessed his mother and stepfather steal his brother's

belongings to purchase drugs and saw his stepfather physically abuse his mother.

Burnette's brother, Caleb Burnette, recounts the time Burnette prevented him from

killing his stepfather

             After years of watching Randy physically abuse my
             mother, I finally decided at 10 years old I was going to kill
             him. I decided that Randy Elkins was never going to hit or
             hurt my mother agatn. I grabbed a .38 pistol from my
             grandfather's house and I walked back to our house. My
             intent was to kill Randy Elkins that day. JT intercepted
             me in the yard. At 12 years old, JT had the insight and
             ability to talk me out of killing my step father. That was
             not the first nor the last time that JT would change the
             trajectory of my life in a positive direction.

See Caleb Burnette's letter attached as Ex. BB

       Due to his mother's drug addiction, Burnette began living with his maternal

grandparents through his pre-teen and adolescent years. Despite trying to escape his

mother and stepfather's drug addiction, Burnette was eventually subject to his

grandmother's alcoholisrn when his great aunt passed away from cancer. Because


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his grandfather, a truck driver, was the only sober member of his family, he spent

much of his adolescence with him in the back of the truck and at truck stops

         Burnette suffered from Dyslexia throughout his education but graduated fiom

Godby High School in 1996. After high school, Burnette attended Georgia Military

College in Valdosta, Georgia from 1996 until 1998, and transferred to Tallahassee

Community College, where he was enrolled from 1998 to 2000, but did not earn             a


degree.

        Notwithstanding his limited education, Burnette harnessed his entrepreneurial

spirit at a young age. He started his first information technology business at

seventeen (17) years old and shortly thereafter transitioned into roofing. He obtained

a   Florida roofing license at the age of twenty (20) and was a licensed Florida General

Contractor by his early      thirties. After his grandmother and grandfather died,

Burnette became the only source of financial support for the rest of his family

        Burnette not only selflessly gives to his family, but also to those around him

When Denee Love, his child's nanny, approached him about her daughter and

granddaughters' troubles, Burnette and his wife opened their home            to   Shadreka

Jackson's two (2) daughters, Dajanae and De'Yanni Stephens. In her letter to the

Court, Ms. Jackson writes that:

               My girls are all I have and at that time, I feltas though I
               was failing in life. I was living with my mom, her husband,
               and my daughters. Basically, living from check to check,
               car problems, and debt on every end. My mom Denee


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              Love, the hired nanny to the Burnettes, through her work
              discussed extensively my situation. JT and Kim
               immediately stepped in, providing my daughters a better
              way of life and stability, which has made them better
              students and young ladies. The Burnette's opened their
              home to my daughter's, assisting in teaching them the
              values of consistency in being reliable, honest, and sincere
              individuals. They have taught all three of us the values of
              saving money, making money, and managing our money.
              Both my daughters have excelled in their educations due
              to the family environment they were given while I pulled
              myself up in life. JT and Kim, made certain that my
              daughters were treated like the young ladies they have
              become, by giving them birthday parties to remember,
              trips to placing we could have not otherwise afforded such
              as Disney World and New York City, cell phones to stay
              in touch, placed in ballet classes, taught how to drive and
              purchased brand new vehicles to drive based on their
              educational efforts, and a beautiful home with the
              Burnettes to live in. I often become teary eyed and
              speechless... when it comes to speaking of the blessings
              that JT and Kim have provided for me and my daughters.
              I really don't know what I would have done at times if it
              had not been for these two caring individuals.

See Shadreka Jackson's letter attached as Ex.   CC. These sentiments were echoed by

Ms. Jackson's daughter, De'Yanni Stephens

              Moving into middle school,I began going through a rough
              patch. I started slacking on my grades and frequently
              getting into altercations with other students. When my
              mother reached out to John Thomas and his wife for
              help[ ], they welcomed me into their homes with open
              arms and big smiles and gave me the guidance that I
              needed.

See   De'Yanni Stephens's letter attached as Ex. DD




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      Burnette's caring nature is also expressed by his friend, Jennifer Bryant, who

Burnette assisted when she left her marital home

             On November 8th, 2020,I packed what I could into my
             Toyota Highlander and moved out of my marital home. JT
             offered me a safe place to stay at their home that day and
             have every day since. A scared woman, using all the
             strength I could just to put the car in drive after yet another
             vivid altercation, will never forget the welcoming look and
             hug fiom JT. He had the bed made, clean towels laid out
              and a warm dinner on the table for me. All I could think
             was "what did I do to deserve this and what kind of friend
             does this?' JT does this, that's who. With his continued
             love and support, I filed for divorce on June 22nd, 2021.
             With his trial preparation going on, JT still checked in with
             me consistently to make sure I was doing ok. All the while,
             JT continued to assure me "You are going to be ok and
             you are welcome as long as you need." Meanwhile, he has
             one of the biggest events in his life going on and, yet, he
             is worried about me. That is who JT is, Your Honor. JT is
             always worried about others, making sure they are ok, and
             that no one around him suffering if he can help it.

See Jennifer Bryant's letter attached as Ex. EE

      Similarly, when his friend Richard Wise's father-in-law suffered an accident

in Mississippi, Burnette flew his mother-in-law to be beside him

             JT   understands     the meaning of friendship            and
             commitment. One example includes the time my father in
             law suffered a serious accident in Northern Mississippi. JT
             made sure someone was able to fly rny mother in law to be
             by his side immediately and help him get home weeks
             later.

See Richard Wise's letter attached as Ex. FF




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      When a friend needed access to   a   tennis court to keep providing for her family

as a tennis coach, Burnette did not hesitate. Burnette's friend, Patricia Shaw, writes

about Burnette's generosity:

             I met JT over 10 years ago as a single mother of twin boys.
             I am a professional tennis player and coach and was in a
             frantic search to find a tennis courl where I could continue
             coaching tennis lessons to provide for my boys. JT
             immediately and generously offered up his home and has
             allowed me to coach tennis lessons there since then. His
             kindness, generosity, and selflessness allowed me to
             continue to provide for my children. Not only was I able
             to provide for my family because of JT's generosity, but I
             was able to give back to our community and share the love
             and joy oftennis.

SeePatncia Shaw's letter attached as Ex. GG.

      As   demonstrated, Burnette    is always     there to help someone in       need.

Burnette's friend, Brian Rich, provide another example of Burnette's generosity:

             On a personal level, I was once describing a situation
             where I was helping a lifelong friend negotiate a small
             workout with a large national bank that held her mortgage.
             She has a chronically disabled child and a life-long
             dedication to helping her child who was not supposed to
             live past the age of 5 but is now 19. Her son cannot
             verbally communicate, requires around the clock care and
             she has specifically outfitted the home that was the subject
             ofthe mortgage to accommodate his needs and limitations.
             The bank was going to foreclose on her property due to
             missed payments that totaled approximately $12,500. I
             casually described the situation to Mr. Burnette one day
             and without hesitation, he offered to, and then did pay off
             the mortgage to allow her to keep the home. My friend
             would mail Mr. Burnette checks on a monthly basis to



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             repay him, but to my knowledge, he never cashed the
             checks. She considers him an angel.

SeeBrian Rich's letter attached as Ex. HH

      Burnette has also committed himself to Tallahassee and its entrepreneurial

community. While most of his business ventures were elsewhere, Burnette remained

focused on his passion projects     of renovating and remodeling older hotels      to

revitalize the City's downtown area. Burnette also played an integral role in Imagine

Tallahassee, a community initiative that developed a unified vision for economic

development in Tallahassee

      In the community, Burnette committed himself to supporting and mentoring

young entrepreneurs. For example, Burnette served as a volunteer and panelist with

the Entrepreneurial Excellence Program ("EEP"). Affectionately called "Shark

Tank Night," the program assisted start-up businesses and entrepreneurs in

navigating the early and vulnerable stages        of business development.     Each

participant would provide a five (5) minute presentation on the business startup and

face questioning from judges on the panel. Larry Lynch, the EEP program director,

recalls the first night Burnette participated in the EEP

             To say he was a huge success in that role would be a large
             understatement. He told the class about his own personal
             story as a developer of new businesses in our community,
             his business successes and failures and the lessons learned
             from both of them. He then listened to 10 different new
             startup business entities pitch him on why and how their
             plans would succeed. He then grilled thern on every aspect


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              of their plan from marketing to          personnel sharing
              incredible insight based on his knowledge and experience.
              That first night was scheduled to end at 9 PM. It finished
              at midnight and not a soul left because of the benefit they
              knew they were receiving from Mr Burnettef']s questions
              and suggestions. At the close of the session Mr Burnette
              gave the class members his personal email and phone
              contacts should they ever want to discuss any issue that he
              might be able to help with, and many class members took
              him up on his offer. Mr Burnette came back to do shark
              tank night for the next 5 EEP classes.

See Larry   Lynch's letter attached as Ex II. Burnette's participation in the EEP was

featured in the Tallahassee Democrat. Ex. JJ

      Burnette also participated as a judge         in InNolevation, a Florida   State

University College ofBusiness pitch competition. Two students, Connor Grady and

Bryant Joseph, have submitted letters expressing the profound impact Burnette had

on their business success. According to Connor Grady

              JT Burnette has been one of the most influential people in
              my life, and has positively affected my personal trajectory.
              The chance he took on me not only profoundly affected
              who I've become professionally, but also how I've
              matured as a person. He's my living, breathing proof that
              there are people out there willing to contribute their time,
              fironey, and effort to help members of their local
              community for no reason other than a desire to help
              someone succeed.

See Connor Grady's letter attached as Ex.        KK.    Bryant Joseph also explained

Burnette's impact on his life:

              I   cannot overstate the positive impact he's had on my life
              and on those around me. JT has continued to be             a



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             champion    of   innovative business and community
             involvement for myself and many others throughout the
             years. I may have received a Bachelor's of Science from
             Florida State University, but I received a "Doctorate of
             Entrepreneurship" from JT Burnette.

See Bryant Joseph's letter attached as Ex.   LL

      In addition to EEP and InNolevation, in 2016, Burnette presented to the final

class of The Jim Moran Institute's Small Business Executive Program. During this

final class, the students discussed what they learned from the program and how they

could apply this information to their own small businesses. Burnette provided the

class members with business advice in response to their presentations

      Burnette has also worked with other young entrepreneurs in the community

Another mentee, Zach Zelner, recounts Burnette's role in his journey from young

entrepreneur to successful businessman

            As I reflect on the past decade,I'm immensely grateful for
            your role in defining my journey from an impulsive young
            entrepreneur willing to do anything to get ahead, to one
            driven by conscience, contribution, and an obligation to do
            what's right. Over the years, the investments I've made in
            philanthropic efforts and in my people have changed the
            lives of thousands, and the common thread runs directly to
            you. Perhaps most importantly, you showed me that
            change only happens when you lead from the front and by
            god, I've got an encyclopedia of examples you've set.




            I would be remiss not to mention the time you've spent
            convincing me of my own potential. One year I
            downloaded my call logs from ATT and found that we'd


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             had 267 calls in 12 months. We're talking about hundreds
             of hours of your time, no doubt in demand by many, spent
             on my future. I never heard a single complaint. Many of
             these calls consisted of sparring matches in which you
             tirelessly atternpted (often unsuccessfully) to help me
             avoid making the foolish mistakes I so vehemently
             insisted were great ideas.

See Zach Zelner's letter attached as    Ex.   MM.    J. Randall Graharn    describes

Burnette's impact on young entrepreneurs:

             Judge, I have seen so many of those kids grow their ideas
             and dreams into bonafide, successful businesses and I have
             repeatedly heard them quote JT's advice that they should
             simply do things the right way the first time and the rest
             will take care of itself.

See J. Randall Graham's letter attached as Ex. NN.

     As for local philanthropy, from 2013 Io 2016 Burnette served on the steering

committee and was a contributor     to 50 Large, a Leon County School District
program designed to curtail youth gangs, targeting young males between the ages of

fourteen (14) and seventeen (17) years old. The program's key components include

character development, academic support and tutoring, referrals for social services,

life skills and personal development, and assisting youth in finding employment

opportunities. Burnette was also actively involved in speaking to students        at

Heritage Trails School (formerly known as Pace Secondary School), who typically

come from at-risk families and often have severe behavioral issues. Burnette was




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also crucial to the Capital Region Young Men's Christian Association. Aaron

Boyette describes Burnette's generosity

            From 2016-2018,    I was Chairman of the Board of the
            Capital Region Young Men's Christian Association, Inc.
            (CRYMCA) in Tallahassee. The CRYMCA struggled for
            years; however, J.T. was always a big supporter of ours.
            J.T. did way more than just buy a table at our annual event;
            he answered the call when I asked him for $20,000.00 to
            help us make payroll during one of our most challenging
            times. He did not hesitate to help us even though he knew
            his chances for repayment were negligible at best. The
            only things he asked of me were to ensure that the loan
            remain anonymous and that the lowest paid personnel
            were paid first.

See Aaron Boyette's letter attached as Ex. OO

     Throughout the years, Burnette has also provided charitable donations to

Goodwood, a local museum and garden, and the Challenger Learning Center, which

provides young students with a "hand-on, minds-on" STEM (science, technology,

engineering and mathematics) educational experience and        is   equipped   with   an

IMAX theater and planetarium. Michelle         Personette, Executive Director   of the

Challenger Learning Center, writes

            For the last twenty years, I have dedicated my professional
            life to increasing the availability and accessibility of
            STEM educational opportunities to teachers and K-12
            students throughout the tri-state service area.Lastyear, as
            the COVID-19 pandemic continued, my organization
            struggled to accomplish our mission for many reasons,
            including travel restrictions, virtual vs. in-person
            instruction, lack of donors and shrinking school district
            budgets. While having dinner with J.T. and Kim one night


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            in late 2020,I mentioned that I had a growing      concern
            about the educational gap that was going to occur in the
            aforementioned subject areas for these students. I went on
            to explain that our team was dedicating our "Giving
            Tuesday" fundraising campaign to offset the lack of
            financial resources within the school districts throughout
            ourNorth Florida region. The next day,Iwas contacted by
            J.T informing me that he was donating $10,000 (our
            largest single donor gift in the last 24 months) to provide
            scholarships to students in Title I schools so that those
            students and teachers could attend a STEM field trip at the
            Challenger Learning Center.

See Michelle Personette's letter attached as Ex.   PP. Burnette also consistently
contributes to Florida State University, the James Madison Institute, Tallahassee

Community College, Boys Town, and the Agape Christian Fellowship Center

     Burnette has also donated bicycles for Darryl Jones's (Vice-Chair of the Leon

County School Board) holiday bicycle drive for needy students. In his leffer,

attached as Ex. QQ, Mr. Jones describes Burnette's impact on his toy drive

            JT Burnette is a consistent champion for children. For a
            number of years, Mr. Burnette has been an annual
            supporter of my Toy Drive and Give-Away for children
            and families living in public housing. His support has
            ensured that children from working class families have
            been able to enjoy the holidays. His generosity and support
            of   charities     that [s]upporl my   schools has been
            extraordinarily.

Mr. Jones also describes Burnette's love for the Tallahassee community:

            What remains clear to me is that JT Burnette loves this
            communify. He loves the people, and most specifically,
            Mr. Burnette loves the children of Leon County and this is
            also evident in how Mr. Burnette and his family create


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            workforce opportunities for working class families by
            paying livable wages. Further evidence of his good will
            and character is that there is no one celebrating his present
            circumstances. There are no enemies skulking in corners.
            As a friend and supporter, I am very much aware of what
            Mr. Burnette and his family mean to this community. I
            look forward to his rightful return to our community
            because to me he is more than a community trustee-his
            love for the children in this community makes him a
            community treasure to me.

     Most recently, a month into the COVID-l9 pandemic, Burnette donated

10,000 KN95 masks to local hospitals and private physicians, and 5,000 masks to

local senior centers when there was a personal protective equipment shortage for

healthcare workers. President and Chief Executive Officer of Tallahassee Memorial

Healthcare ("TMH"), G. Mark O'Bryant, wrote that "Mr. Burnette's unselfish act of

giving allowed our healthcare workers additional resources needed to remain safe

and provide high quality care to our patients." On     April 24,2020, shortly   after

providing 10,000 KN95 masks to TMH, G. Mark O'Bryant thanked Burnette for his

generosity at the height of the COVID-19 pandemic

            On behalf of everyone here at Tallahassee Memorial
            HealthCare, please accept my sincerest appreciation for
            your generous donation of 10,000 KN95 masks. We all
            recognize that these masks are increasingly in limited
            supply and essential to our hospital's efforls to provide
            high quality care and compassionate support for COVID-
            19 patients. Your gift is also saving lives by keeping
            healthcare providers and patients safe as they colne face-
            to-face with the growing presence of COVID-l9 in our
            community. To date, not a single TMH provider working
            with these patients has tested positive for the virus. This

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              has much to do with having an adequate supply of PPEs
              like the KN95 masks you contributed. Thank you again
              for your generosity. Please know your gift will make a
              difference for our organization and the community we
              serve.

See G.   Mark O'Bryant's letters attached as Comp. Ex. RR.

      Finally, past Florida Bar President, Michael J. Higer best summarizes

Burnette's character in his letter to the Court

               Over the past several years, my life as a leader in The
              Florida Bar led me to travel often to Tallahassee. My first
               call always was to JT to get together. As a result, I was
               able to watch him first-hand as he conducted his
              business-as he interacted with his various business
              relationships and how they interacted with him. From
              these observations, I saw someone of the highest moral
               character who put friends and family above all else. I saw
               someone who was both charitable with his wallet but also
              his time and his heart. In short, I saw someone without
               ego who thinks and cares deeply about his family, his
              friends and his community. I understand and respect the
              jury's verdict. But that jury does not know the man I and
              many others know. I very respectfully ask this Court in
              rendering its decision to give greatweight to JT as a whole
              and not a solitary incident which does not and should not
              define him.

SeeMichael J. Higer's letter attached as Ex. SS




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III.   Substantially Below-Guidelines Sentence Would Provide Adequate
       Deterrence

       Section 3553(a)(2)(C) requires that a sentencing court consider "the need for

the sentence   imposed to protect the public from further crimes of the
defendant." United States v. Pizzino, 419 F. App'x 579, 583-85 (6th Cir. 2011)

(sentence vacated where courl failed to address defendant's low risk of recidivism

and extensive rehabilitation); United States v. Pritchard,392 F.   App'x 433,437-42

(6th Cir.2010) (sentence vacated due to coult's failure to address             defense

psychologist's reportthat defendant had a low risk of recidivism). A substantially

below-Guidelines sentence would also achieve both of these deterrence goals.

       A lengthy term of imprisonment is unnecessary to achieve specific deterrence.

First, Burnette poses a negligible risk of recidivism and is not a danger to the

public. According to the United States Sentencing Commission's                empirical

research, as a true first-time offender released without incident during the pendency

of this case, Burnette is less likely to recidivate than virtually any other category of

defendant

       Offenders with a criminal history category of    I   and are between4l and 50

years old recidivate a mere 69% of the time. SeeEx. UU at 28. The subset of first

offenders who have zero Crrminal History points are even less likely             to re-



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offend. Only 3 .6% of defendants in this category were reconvicted during the initial

two (2) years back in the community. See id. at23; see also United States v. Wunder,

No. 09-40052-01-RDR, 2010 WL 654754, at * 3 (D. Kan. Feb. 23,2010) ("This

was defendant's first criminal offense. He has no prior arrests. His chance of

recidivism is less than some other persons who may also have a criminal history

category of   'I."');   United States v. Oldani, No. 3:09-00010,2009 WL 1770116, at

*7 (S.D.W. Va. June 16,2009) (observing that "[b]ased on empirical research, the

commission found that a defendant with no prior arrests or criminal history has

the lowest rate of recidivism of any group in the study").

      As a true first-time offender released without incident since his arrest over

two years ago, Burnette has proven he is not a danger to society    .   See Oldani,2009

WL   1770116, at    *7 ("[b]ased on his status as a true first offender, there is little

likelihood that fthe defendant] will be brought before the criminal justice system in

the future."). As such, sentencing Burnette to a substantially below-Guidelines

sentence, without a lengthy term      of imprisonment would be sufficient to achieve

specific deterrence. See Wunder, 2010 WL 654754, at *3 (imposing sentence

approximately 600/o less than the guideline range's minimum; "[t]he court does not

believe a lengthy jail term is necessary to protect the public from further crimes by

defendant")




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      Two Eleventh Circuit cases, United States v. Mathis,186 F. App'x 971          (llth
Cir. 2006) and United States v. Winingear, 422 F.3d 1241 (1lth Cir. 2005),            are

instructive. In Mathis, the defendant was convicted of three (3) counts of extortion

by a public official and one (1) count of misleading statements. Despite              the

Guidelines range being fifty-seven (57)       to   seventy-one months (71), the Court

sentenced the defendant   to thirty-six (36) months in prison. The thirty-six (36)

month sentence was upheld on appeal because the district court found that the

Guidelines were "'excessively punitive' based on Mathis's commitment to public

service, the monetary amount involved, and that this was his only criminal

conviction" and "because the extortion convictions for counts two and three were so

closely related as they involved the same business." Mathis, 186 F. App'x at 982

Similarly, here, Burnette's convictions are only related to Burnette's interactions

with SPD, and Burnette's commitment to community service and leadership warrant

a downward variance from the Guidelines range.

      In Winingear,the   defendant defrauded twenty-one (21) people, had multiple

previous convictions, comrnitted wire fraud while still under sentence for   a   previous

crime, violated his bond, and threatened to murder arresting officers as he fled

Despite facing a twenty (20) year maximum sentence, and considering the facts

discussed above, the Court reviewed the sentencing factors outlined          in   section

3553(a) and determined that a sentence oftwo (2) years imprisonment was sufficient



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but not greater than necessary. Based on the totality of the circumstances including

Burnette's dedication to community services, charity, and leadership, and Burnette's

lack of any previous criminal record, this Court should grant a downward variance

from the Guidelines

IV    Burnette's Sentence Should be Consistent with Other Defendants with
      No Criminal History Who Have Been Found Guilty of Similar Conduct

      Burnette's sentence should be consistent with other defendants with no prior

criminal history convicted of similar crimes. Based on the United States Sentencing

Commission data between 2015 and2020,71.8% of sentences for bribery/corruption

for individuals Criminal History Category I were twenty-four months or less. Ex

VV. Not only   is Burnette not a public official, but there is no evidence that Burnette

received any financial benefit from the charges upon which he was convicted

      Maddox, the public official, was involved in numerous bribery/extortion

schemes over the course of many years (not to mention bank and tax fraud) with his

partner, Carter-Smith, was sentenced to sixty (60) months. Carter-Smith was

sentenced   to twenty-four (24) months. Burnette was only convicted of            being

involved in one (1) extortion scheme with SPD, and Burnette received no financial

benefit from any of the payments

IV.   Response to Government's Sentencing Memorandum

      Burnette intends to respond to the Government's Sentencing Memorandum at

sentencing,   but one inaccuracy in the Government's memorandum                requires


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immediate correction. The Government's assertion (at pages 46-47) that "[t]he

defendant himself is heavily invested in Trulieve, to the tune of more than $400

million," is false. As Burnette's financial disclosure to the Probation Office makes

clear, Burnette does not own $400 million in Trulieve shares. Ex.   WW. Burnette's

wife Kim Rivers owns those shares, see id., and she received those shares before

their marriage. Publicly available SEC filings confirm that Rivers is the beneficial

owner of those shares. SeeEx.     XX (2018); Ex. YY (2021). Undersigned counsel

alerted the government to this inaccuracy in its memorandum, but the government

refused to correct   it. Ex. ZZ

                                  CONCLUSION

      For the reasons stated above, Defendant John Thomas Burnette respectfully

requests that this Court impose a substantially below-Guidelines sentence, which

would be sufficient but not greater than necessary to accomplish the objectives set

forth in 18 U.S.C. $3553(a)

Dated: November 4,2021                    Respectfully submitted,

                                            Gregory W. Kehoe
                                          /s1
                                         Gregory W. Kehoe
                                         Florida Bar No. 0486140
                                         kehoeg@gtlaw.com
                                         Jordan L. Behlman
                                         Florida Bar No. 111359
                                         behlmani@,stlaw.com
                                         Greenberg Traurig, P.A.
                                         101 EastKennedy Blvd., Suite 1900
                                         Tampa, FL 33602


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                                 Telephone: (813) 3 I 8-5700
                                 Facsimile: (813) 3 18-5900

                                 R. Timothy Jansen
                                 Florida Bar No. 0691208
                                 i ansen@i ansenanddavis. com

                                 Jansen & Davis, P.A.
                                  125 N Franklin Blvd.
                                 Tallahassee, FL 32301
                                 Telephone: (850) 224-1440
                                 Facsimile: (850) 224-0381

                                 Adam Komisar
                                 Florida Bar No. 86047
                                 adam              cola.com
                                 PO Box 664
                                 Tallahassee, FL 32302
                                 Telephone: (850) 591-7 466
                                 Facsimile: (850) 320-6592

                                 Amy Mason Saharra
                                 asahafia@wc.com
                                 Admitted Pro Hac Vice
                                 Williams & Connolly LLP
                                 125 Twelfth Street, N.W.
                                 Washington, DC 20005
                                 Telephone : (202) 43 4-5847

                                 Michael Ufferman
                                 Florida Bar No. 114227
                                 ufferm       fferm an I aw. c om
                                          an @u
                                 Michael Ufferman Law Firm, P.A.
                                 2022-1 Raymond Diehl Road
                                 Tallahassee, FL 32308
                                 Telephone: (850) 368-2345
                                 Facsimile: (850) 224-2340

                                 Counsel   for Defendant John   Thomas
                                 Burnette



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                        LOCAL RULE 7.1G) CERTIFICATE

      I certiflz that this paper contains 8,738 words, per Microsoft    Word's word

count, which is in excess of the word      limit requirements set forth in Local   Rule

7.1(F). A motion requesting leave to file this sentencing memorandum in excess of

the word limit was granted by the Court.

                                                /s/ Gresorv W. Kehoe
                                                  Attorney


                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY thata copy ofthis document has been served to counsel

for the United States of Americavia email to their addresses of record on this 4th

day ofNovember,202l

                                                /s/ Greeorv W. Kehoe
                                                  Attorney




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